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                   UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS
___________________________________
                                    )
LAUREN SHIEBLER,                    )
                                    )
                     Plaintiff,     )
                                    )
                v.                  )          CIVIL ACTION
                                    )          No. 24-10839-WGY
MARTIN J. O’MALLEY, Commissioner    )
of the Social Security              )
Administration,                     )
                                    )
                     Defendant.     )
___________________________________)

YOUNG, D.J.                                           December 17, 2024

                        MEMORANDUM OF DECISION

I.   INTRODUCTION

     The plaintiff Lauren Shiebler (“Shiebler”) seeks to reverse

the decision of the Commissioner of the Social Security

Administration (the “Commissioner”) denying her disability

benefits under Title II of the Social Security Act.            The

Commissioner cross-moves to affirm the decision.

     In the decision challenged here, Administrative Law Judge

Sean Teehan (the “Hearing Officer”) concluded that Shiebler had

the Residual Functional Capacity (“RFC”) to perform other jobs

involving light work as defined in 20 C.F.R. § 404.1567(b), and

thus Shiebler was not disabled in the relevant period.             Admin.

R. Social Sec. Proc. (“R.”) 49-53, ECF No. 9.




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     In making this RFC determination, the Hearing Officer

relied on the exam findings of Shiebler’s treating doctor, Dr.

Jonathan Zurawski, and the opinions of State Agency consultants

Dr. Subbiah Doraiswami, Dr. Michelle Hoy-Watkins, Dr. John

Fahey, and Dr. Lois Condie.      Id. at 50-51.     The Hearing Officer

rejected the assessment of Dr. Mary Connelly and Physician

Assistant John Sullivan.     Id. at 51.     The Hearing Officer also

found that Shiebler’s testimony was not sufficient to prove

alleged additional limitations, such as being required to rest

more than 25% per workday.      Id. at 46, 50, 730.

     The Hearing Officer then relied on the testimony of

Vocational Expert Brian Womer (the “VE”) to conclude that there

existed light work jobs in the national economy that Shiebler

could perform.   Id. at 52.

     Shiebler argues that the Hearing Officer’s decision was

flawed because it omitted a part of State Agency psychologist

Dr. Michelle Hoy-Watkins’s assessment, rejected PA-C John

Sullivan’s report, and rejected Shiebler’s self-claimed

symptoms.   See generally Pl.’s Br. Supp. Mot. Order Reversing

Comm’r’s Decision (“Pl.’s Mem.”), ECF No. 11; Pl.’s Reply Br.,

ECF No. 18.   The Commissioner argues that the Hearing Officer

made no material error of law, and that the decision was based

on substantial evidence.     Def.’s Mem. Supp. Mot. Affirm Comm’r’s

Decision (“Def.’s Mem.”), ECF No. 16.


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       This Court DENIES Shiebler’s motion to reverse and GRANTS

the Commissioner’s motion to affirm.

II.    PROCEDURAL HISTORY

       On June 7, 2021, Shiebler filed a Title II disability

benefits claim.      R. at 232-34.    She alleged physical disability

resulting from her multiple sclerosis. Id. at 235, 256.

       The Social Security Administration (“the Administration”)

initially denied Shiebler’s claims on January 27, 2022, id. at

122, and again on reconsideration on September 6, 2022, id. at

129.    Shiebler requested a hearing on September 14, 2022, id. at

134, which was held before the Hearing Officer on December 15,

2022, id. at 57.      The Hearing Officer denied the claim on April

5, 2023.     Id. at 38, 53.     Shiebler subsequently filed an appeal

with the Appeals Council, which denied the request for review on

February 6, 2024.      Id. at 1.

       Shiebler filed a complaint before this Court on April 2,

2024, Compl., ECF No. 1, and a Motion for Order Reversing

Commissioner’s Decision on July 2, 2024, Pl.’s Mot. Order

Reversing Comm’r’s Decision, ECF No. 10; Pl.’s Mem.              The

Commissioner filed a Motion to Affirm the Commissioner’s

Decision on August 7, 2024.        Mot. Affirm Comm’r’s Decision, ECF

No. 15; Def.’s Mem.      Shiebler filed a reply brief on August 21,

2024.     Pl.’s Reply Br.

       This Court has jurisdiction under 42 U.S.C. § 405(g).


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III. FACTS

     Shiebler was 37 years old at the time she applied for

disability benefits in 2021.      R. at 232.    Shiebler had started

to have left leg pain in 2019 and was later diagnosed with

multiple sclerosis.   Id. at 395.

     At the time of application, Shiebler alleged that she had a

limited ability to work because of her “1. [m]ultiple sclerosis

2. [h]erniated discs in [her] lower back [and] 3. [c]ompressed

disc in [her] lower back.”      Id. at 256.    Shiebler received

cognitive testing, speech therapy, and cognitive therapy due to

her multiple sclerosis.      Id. at 259.

     Shiebler worked as a registered nurse and telehealth nurse

at Boston Medical Center from 2005 until October 30, 2020.              Id.

at 16, 25, 67-69.   While at Boston Medical Center, Shiebler

worked for nine hours per day, three days per week.            Id. at 257.

Prior to the hearing at issue, Shiebler last worked in October

2022, as a shop assistant in a clothing store called Strand the

Boutique LLC.   Id. at 64-67, 240.

     At the hearing on December 15, 2022, Shiebler testified

that she resigned from her work as a nurse because she felt

extreme fatigue and numbness and tingling on her left side, and

had muscle spasms, back pain, and mind fog causing her

difficulty with word finding.      Id. at 72.     She also testified

that the lumbar micro discectomy she received in October 2021


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alleviated some of her back pain.          Id.     She added that she

resigned from the clothing shop due to her impairments, because

she was “feeling really fatigued” after a four-hour shift,

experiencing more spasms in her hands when grasping, tagging,

and lifting items, and could not sit for a long time.                 Id. at

67.

      At the same hearing, the VE testified about whether an

individual with the age, education, and work experience of

Shiebler would have jobs available to her in the national

economy.    Id. at 93-97.      The VE assessed that for a person with

the RFC described in the State Agency doctors’ function reports,

there are light work jobs available in the national economy.

Id. at 95-96.     Specifically, the VE observed that there were

three unskilled light work jobs that such a person could

perform: mail sorter or mail clerk, office helper, and small

parts assembler.     Id. at 96.

      The VE also testified that there would be no jobs available

in the national economy for an individual who has the RFC and

additional limitations described in Physician Assistant John

Sullivan’s function report.        Id. at 97.

IV.   THE HEARING OFFICER’S DECISION

      A. Legal Standard

      To obtain Social Security Disability Insurance benefits, an

applicant must show that she is disabled.              42 U.S.C. §


                                     [5]
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423(a)(1)(E).   Disability is defined as the inability “to engage

in any substantial gainful activity by reason of any medically

determinable physical or mental impairment which can be expected

to result in death or which has lasted or can be expected to

last for a continuous period of not less than 12 months[.]”                    42

U.S.C. § 423(d)(1)(A).       The Commissioner applies a five-step

sequential evaluation to determine if a claimant is disabled.

20 C.F.R. § 416.920; see also Goodermote v. Secretary of Health

& Hum. Servs., 690 F.2d 5, 6-7 (1st Cir. 1982).               The claimant

bears the burdens of production and persuasion at steps one

through four of this analysis.       Freeman v. Barnhart, 274 F.3d

606, 608 (1st Cir. 2001); Clarification of Rules Involving

Residual Functional Capacity Assessments, 68 Fed. Reg. 51153,

51155 (Aug. 26, 2003).

     First step.    The first step of the sequential evaluation

process is determining whether the claimant is engaging in

substantial gainful activity.       20 C.F.R. § 404.1520(a)(4)(i).

Substantial gainful activity is defined as earnings from a work

setting exceeding an amount that the Administration determines

each year.   20 C.F.R. §§ 404.1520(a)(4)(i), 404.1574(b).

     Second step.   At the second step, the hearing officer

determines whether impairments are “severe.”           20 C.F.R. §

404.1520(a)(4)(ii).    An impairment or combination of impairments




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is severe if it significantly limits an individual’s ability to

engage in basic work activities.     20 C.F.R. § 404.1520(c).

     Third step.    At step three, the hearing officer assesses

whether the claimant’s impairment or combination of impairments

is of a severity to meet or medically equal the criteria of an

impairment listed in 20 C.F.R. Part 404, Subpart P, Appendix 1.

20 C.F.R. §§ 404.1520(a)(4)(iii), 416.920(d), 416.925, 416.926.

If the claimant’s impairment is of such severity, the claimant

is disabled.   20 C.F.R. § 404.1525(a)(4)(iii).         If it is not,

the analysis proceeds to the next step.        20 C.F.R. §

404.1520(e).

     Fourth step.    If a claim does not meet the severity of a

listed impairment at step three, the inquiry does not end.                Id.

Instead, the hearing officer proceeds to step four and assesses

the RFC of the claimant.     Id.   RFC determinations must consider

all the claimant’s impairments, including severe and non-severe

impairments.   20 C.F.R. § 404.1545(a)(2).        The hearing officer

then uses the RFC determination to decide whether the claimant

can return to past relevant work.        20 C.F.R. § 404.1520(e).

     Fifth step.    If the claimant’s RFC would not allow her to

return to past relevant work, the hearing officer continues to

step five of the sequential evaluation process.              20 C.F.R. §

404.1520(a)(4)(v).    At step five, the burden of proof shifts to

the Administration to establish that a person of the same age,


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education, work experience, and RFC could do work that exists in

significant numbers in the national economy.         20 C.F.R. §§

404.1560(c)(2), 404.1512(b)(3).     If the hearing officer finds

that the claimant can do work that exists in significant numbers

in the national economy given her RFC, age, education, and work

experience, then the hearing officer will find the claimant not

disabled.   20 C.F.R. §§ 404.1520(a)(4)(v), 404.1566(b).           If the

claimant can do light work, the Administration would determine

that he or she can also do sedentary work, unless there are

additional limiting factors such as loss of fine dexterity or

inability to sit for long periods of time.        20 C.F.R. §

404.1567(b).

     B. Summary of Findings

      At step one, the Hearing Officer found that Shiebler had

not engaged in substantial gainful activity since her alleged

onset date of October 30, 2020.     R. at 44.

     At step two, the Hearing Officer found that Shiebler had

the “severe” impairments of lumbar degenerative disc disease

status-post microdiscectomy, multiple sclerosis, mood disorder,

anxiety disorder, and neurocognitive disorder, which

significantly limit her ability to perform basic work

activities.    Id.

     At step three, the Hearing Officer found that Shiebler did

not have an impairment or combination of impairments that meets


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or medically equals the severity of one of the listed

impairments in 20 C.F.R Part 404, Subpart P, Appendix 1.               Id. at

46-47.

     At step four, the Hearing Officer found that Shiebler had

the RFC to perform light work.       Id. at 49.     The Hearing Officer

determined that Shiebler could “lift and/or carry 20 pounds

occasionally and 10 pounds frequently”; “can stand and/or walk

for four hours” and “sit for six hours” in an eight-hour workday

over a forty-hour workweek; is “occasionally . . . able to push

and pull with the left lower extremity”; can “occasionally climb

stairs, stoop, kneel, crouch and crawl”; and can “understand and

carry out instructions for simple routine tasks [and] maintain

concentration, persistence and pace in the performance of these

tasks for two-hour increments.”       Id.    Finally, the Hearing

Officer found that Shiebler “presents as alert and oriented with

intact memory and fund of knowledge,” is “able to relate in a

clinical setting,” and is “able to care for her personal needs,

grooming and hygiene.”       Id. at 50.

     At step five, the Hearing Officer found that although

Shiebler is unable to perform her past relevant work as a

registered nurse and telehealth nurse, there are jobs that exist

in significant numbers in the national economy that Shiebler can

perform.   Id. at 52.   Such jobs include: mail sorter or mail

clerk, office helper, and small parts assembler.              Id.   In making


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this determination, the Hearing Officer relied on the VE’s

testimony.    Id.   The Hearing Officer found that a person with an

RFC as described above, in this case Shiebler, would be able to

perform unskilled light work, including the three jobs

mentioned.    Id.

      Therefore, the Hearing Officer concluded that Shiebler was

not disabled during the relevant period.         Id.

V.    ANALYSIS

      A. Standard of Review

      The Court has the authority to affirm, modify, or reverse

the decision of the Commissioner.         42 U.S.C. § 405(g).      To

remand, “the Court must either find that the Commissioner's

decision is not supported by substantial evidence, or that the

Commissioner incorrectly applied the law relevant to the

disability claim.”     William S. v. O’Malley, No. 24-00143-LDA,

2024 WL 4123488, at *2 (D.R.I. Sept. 9, 2024) (citing Seavey v.

Barnhart, 276 F.3d 1, 9 (1st Cir. 2001)).         The findings of the

Commissioner as to any fact, “if supported by substantial

evidence, shall be conclusive[.]”         42 U.S.C. § 405(g).

      Courts review the factual findings of hearing officers

based on the substantial evidence standard.            Ortiz v. Secretary

of Health & Hum. Servs., 955 F.2d 765, 769 (1st Cir. 1991).

“Under the substantial-evidence standard, a court looks to an

existing administrative record and asks whether it contains


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‘sufficien[t] evidence’ to support the agency’s factual

determinations.”     Biestek v. Berryhill, 587 U.S. 97, 102 (2019)

(quoting Consolidated Edison Co. v. NLRB, 305 U.S. 197, 229

(1938)).    Substantial evidence need only be enough that a person

of “a reasonable mind, reviewing the evidence in the record as a

whole, could accept it as adequate to support [the] conclusion.”

Id.; see also West v. Berryhill, No. 17-1170, 2017 WL 6499834,

at *1 (1st Cir. Dec. 11, 2017) (“[T]he court considers the ALJ’s

decision as a whole when determining whether substantial

evidence support[s] the ALJ’s findings.”).

     The substantial evidence standard is more deferential to

the administrative agencies than even the clearly erroneous

standard.   See Dickinson v. Zurko, 527 U.S. 150, 153 (1999).

“Substantial evidence is ‘more than a mere scintilla,’ and means

only ‘such relevant evidence as a reasonable mind might accept

as adequate to support a conclusion.’”      Biestek, 587 U.S. at 97

(quoting Consolidated Edison Co., 305 U.S. at 229).

     The Court will not reverse the decision if the error is

“harmless.”   Colon v. Saul, 463 F. Supp. 3d 66, 75 (D. Mass.

2020) (quoting Perez Torres v. Secretary of Health & Hum.

Servs., 890 F.2d 1251, 1255 (1st Cir. 1989)).

     B. Discussion

     The Hearing Officer’s decision on steps one through three

is not disputed.     See generally Compl.; Pl’s Mem.       It is


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undisputed that Shiebler could no longer perform her past work

due to her impairments.       Def.’s Mem. 1; Pl.’s Mem. 2.        Shiebler

challenges steps four and five, regarding the Hearing Officer’s

RFC findings.    Pl.’s Mem. 3, 9.

      Shiebler argues that the Hearing Officer’s RFC analysis was

flawed for two reasons.       Id.    First, Shiebler claims that the

Hearing Officer failed properly to evaluate the opinion of the

State Agency’s psychological consultant who participated in the

reconsideration process, Dr. Michelle Hoy-Watkins.            Id. at 3, 5.

Shiebler argues that, despite finding Dr. Michelle Hoy-Watkin’s

opinion persuasive, the Hearing Officer failed to include every

limitation described therein in his RFC or to explain why some

were excluded.    Id. at 5-6.       Second, Shiebler alleges that the

Hearing Officer erred by failing to account for the “total

limiting effects” of Shiebler’s impairments.          Id. at 9.     More

specifically, Shiebler argues that the Hearing Officer failed

properly to evaluate Physician Assistant John Sullivan’s report,

and Shiebler’s self-described limitations.          Id. at 16, 18.

         1. Shiebler’s Claim that The Hearing Officer Disregarded
            Dr. Hoy-Watkins’s Opinion Is Unpersuasive.

  Shiebler claims that the Hearing Officer erred by disregarding

Dr. Hoy-Watkins’s report when assessing her RFC.             Pl.’s Mem. 5-

9.   Contrary to Shiebler’s claim, the Hearing Officer considered

Dr. Hoy-Watkins’s report explicitly when assessing Shiebler’s




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RFC.    R. at 45, 48, 50.    The Hearing Officer determined that,

considering Dr. Hoy-Watkins’s report, Shiebler had mild social

interaction limitations, but only omitted the limitation when

asking the VE hypothetical questions.       R. at 48, 95-97.       The

Court holds that this omission was harmless.

             i. The Hearing Officer’s Decision that Shiebler Has
                Mild Social Interaction Limitations Was Based on
                Substantial Evidence.

       Shiebler’s first argument is that the Hearing Officer erred

by disregarding part of Dr. Hoy-Watkins’s function report.

Pl.’s Mem. 5-9.

       On August 10, 2022, Dr. Michelle Hoy-Watkins, a State

Agency consultant, evaluated Shiebler for her mental RFC during

the reconsideration process for Shiebler’s disability claim.                R.

at 114-15.    In the determination report, Dr. Hoy-Watkins added a

comment in the “additional opinion” section, stating, “The

claimant retains the ability to understand, remember and follow

simple instructions with adequate CPP.       The claimant can adapt

to predictable changes and work-related stressors.           The claimant

can engage in brief and superficial interactions.”           Id. at 115.

The Hearing Officer did not mention the above comment in his

decision.    Id. at 38-56.

       Shiebler claims that this last sentence of the comment

ought be construed to mean that Shiebler’s ability to interact

with others is “limited to” only brief and superficial


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interactions.     Pl.’s Mem. 5-9.    Shiebler also argues that this

comment is essential medical evidence that she has a mental

impairment affecting her social interactions, making the Hearing

Officer’s decision flawed.       Id. at 6-9.     Shiebler alleges that

the Hearing Officer made legal errors by (1) disregarding such

limitation when accounting for her RFC, (2) not consulting on

the effect of the limitation with the VE, and (3) not explaining

the reason for omitting the limitation or reason for rejecting

Hoy-Watkins’s opinion in the Hearing Officer’s decision.               Id. at

3-9.

       Regarding Shiebler’s social interaction limitations, the

Hearing Officer found that she has “a mild limitation.”              R. at

48.    The term “mild limitation” indicates that one’s functioning

in the designated area independently, appropriately,

effectively, and on a sustained basis is “slightly limited.”                  20

C.F.R Part 404, Subpart P, Appendix 1, 12.00(F)(2)(b).              The

Hearing Officer reasoned that:

       The claimant’s speech is normal and there is no
       evidence of any language deficits. She is described
       as cooperative in a clinical setting. In her function
       report dated May of 2022, the claimant stated that she
       tries to attend her children’s sporting events and
       will occasionally go out to dinner. She also reported
       seeing her in-laws and her father on a regular basis.
       In addition, she reported being excited about a family
       trip to Italy and testified enjoying this trip where
       she was able to attend several tourist attractions
       such as the Sistene [sic] Chapel, doing walking tours
       and going to museums in Rome and Florence, and taking
       water taxis in Venice.


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R. at 48.

     The Hearing Officer’s determination is consistent with the

record.    During the hearing, Shiebler testified that she travels

with her family, id. at 80, went on a trip to Italy for her

anniversary for around six days in November 2022, id. at 80-82,

and on another trip to Vermont in 2021 with four other families

before her lumbar micro discectomy surgery, id. at 83-84.              In

her two self-written function reports, she indicated that she

participates in social activities, that she goes out for either

lunch or dinner with others once or twice a month, and that she

attends her kids’ sporting events.         Id. at 273, 299.

     Shiebler did not claim any difficulty in interacting with

other people in her initial application for disability benefits,

in her appeal for reconsideration of her initial claim, in her

request for a hearing, or in the hearing with the Hearing

Officer.    See id. at 57-98, 127-28, 256, 314-15.           Shiebler’s

attorney was given the opportunity to ask the VE about social

interaction limitations but did not ask any questions.             See id.

at 97-98.    This Motion is the first instance in which Shiebler

is specifically claiming limitation in interacting with other

people.    Pl.’s Mem. 5-9.

     According to Shiebler’s neuropsychological testing done by

Dr. Lindsay A. Barker on January 12, 2021, Shiebler had



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“[n]ormal, well-related [behavior], [and] good eye contact,” and

her speech was “[f]luent, prosodic, normal rate.”             R. at 375.

Shiebler had no word finding problems, and her thought process

was logical, goal-directed, and processing at a mildly slow

speed.    Id.   Shiebler was “alert and oriented,” and her

“attention was sustained throughout the clinical interview.”

Id.

       In January 2022, Dr. Lois Condie, a State Agency

psychological consultant, evaluated Shiebler for medically

determinable impairments and severity.          Id. at 101-02.      Dr.

Condie found that Shiebler’s limitation in her ability to

“Interact with others” is “Mild.”          Id. at 102.    For Shiebler’s

mental RFC, Dr. Condie assessed that Shiebler had no social

interaction limitations.       Id. at 105.

       In the second state function report, Dr. Hoy-Watkins found

that Shiebler’s limitation in her ability to “Interact with

others” is “Mild,” identical to what Dr. Condie determined in

the first state function report.        Id. at 102, 112.       The Hearing

Officer discusses Dr. Hoy-Watkins’s assessment in his decision

by indicating that it is “persuasive,” and that Dr. Hoy-Watkins

is “experienced in the evaluation of disability claims,” and

that her “opinions were consistent with other significant

evidence of record, namely the claimant’s response to disc

surgery, Dr. Zurawski’s exam findings, the claimant’s daily


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activities, and the relatively conservative treatment modalities

that have been employed with respect to her impairments.”              Id.

at 50.    Dr. Hoy-Watkins wrote in her psychiatric review that she

reaffirmed the initial function report done by Dr. Condie.              Id.

at 112.   She summarized that “[the Initial] Function report

(5/20/22) indicates the ability to perform self-care, prepare

meals, do laundry, vacuum, drive, travel alone, shop by

computer, and socialize.    The claimant goes out to

dinner. . . .”   Id.   She then made her determination that “[a]t

recon[sideration], additional medical evidence has been received

but is consistent with the initial decision.”          Id.    Moreover,

Dr. Hoy-Watkins answered “No” to the question “Does the

individual have social interaction limitations?”            Id. at 115.

     Given these findings and the consistency of the state

function reports, the Hearing Officer’s factual finding that the

plaintiff has only mild limitation in interacting with others

was based on substantial evidence.        Id. at 48.

            ii. Although the Hearing Officer Omitted the Mild
                Social Interaction Limitation in Asking the VE
                Hypothetical Questions, This Does Not Constitute
                Legal Error.

     The Court must next consider whether the Hearing Officer’s

disregarding Shiebler’s possible mild social interaction

limitation when asking the VE hypothetical questions constitutes

reversible legal error.




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       The Hearing Officer asked the VE two hypothetical

questions.     R. 95-97.   First, the Hearing Officer asked the VE

whether there would be any work in the regional or national

economy for a hypothetical person of the same age, education,

and work background as Shiebler.         Id. at 95.       The Hearing

Officer asked the VE to assume that this hypothetical person had

physical and mental limitations as assessed by the

Administration’s second function report.            Id.    The Hearing

Officer omitted mild limitation in social interactions from the

hypothetical question.         Id. at 95-96.    The VE testified that

such a hypothetical person would be able to perform unskilled

light work such as that of a mail sorter or mail clerk, office

helper, or small parts assembler.           Id. at 96.     Next, the Hearing

Officer asked the VE whether there would be any work in the

regional or national economy for the same hypothetical person if

this person had physical limitations as assessed in Physician

Assistant John Sullivan’s report.           Id. at 96-97.       Again, the

Hearing Officer did not include mild limitation in social

interactions in the question.         Id.     The VE testified that there

would be no full-time job available for such a person.                Id. at

97.

       The Hearing Officer, however, did not ignore Shiebler’s

social interaction limitations, and gave Shiebler opportunities

to discuss them.     First, after interviewing Shiebler about her


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physical symptoms, the Hearing Officer inquired into her mental

difficulties by asking her twice whether she had any other

conditions that she wanted to discuss that affect her ability to

work.    Id. at 76.    Shiebler answered that she had anxiety, but

it is controlled by medication and meditation.          Id.   Shiebler

added that she had Hashimoto’s and ADHD, but she also added that

she did not have any other issues that would prevent her from

working.    Id. at 76-77.    Second, before asking hypothetical

questions to the VE, the Hearing Officer asked Shiebler about

her family trip to Italy, and whether she had any difficulties

during the trip.      Id. at 80-82.   Third, Shiebler’s attorney was

given an opportunity to ask Shiebler about any difficulties that

were not addressed by the Hearing Officer before the VE gave his

testimony.    Id. at 84.    During the inquiry, the attorney did not

ask Shiebler about her social interaction limitations.            Id. at

84-91.

     Regardless of these opportunities, the Hearing Officer’s

omission of the mild social interaction limitation from his

hypothetical questions to the VE was not material to the outcome

of the hearing and so was harmless error.        As the Commissioner

argues, any error was harmless because none of the three

occupations the VE identified requires substantial social

interaction skills.      Def.’s Mem. 13; see Freddette v. Berryhill,

No. 17-cv-672-PB, 2019 WL 121249, at *7 (D.N.H. Jan. 7, 2019)


                                  [19]
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(noting that courts “routinely find harmless error” where ALJ’s

hypothetical questions or RFC determination excludes a

limitation that does not affect claimant’s ability to perform

identified work).

     Of the three occupations suggested by the Hearing Officer,

two of them (mail sorter and small parts assembler) are rated

“8” in people skills by the Dictionary of Occupational Titles

(“DOT”), which is the lowest level of human interaction

required.   DOT § 209.687-026, 1991 WL 671813 (mail clerk); DOT §

706.684-022, 1991 WL 679050 (assembler, small products I).            The

third job suggested by the VE, office helper, is rated “6.”            DOT

§ 239.567-010, 1991 WL 672232 (office helper).         Level 8 work,

which is described as “Taking Instructions-Helping,” requires

“[a]ttending to the work assignment instructions or orders of

supervisor,” with “[n]o immediate response required unless

clarification of instructions or orders is needed.”          DOT,

Appendix B, 1991 WL 688701.    Level 6 work, which is described as

“Speaking-Signaling,” requires “[t]alking with and/or signaling

people to convey or exchange information,” including “giving

assignments and/or directions to helpers or assistants.”            Id.

     It was not unreasonable for the Hearing Officer to decide

that a person with possible mild social interaction limitations

could perform the jobs described above.       See Simpson v. Colvin,

No. 1:13-CV-168 NAB, 2014 WL 5313724, at *21 (E.D. Mo. Oct. 16,


                                 [20]
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2014) (“Level 8 interaction is compatible with an RFC limiting a

claimant to only superficial contact with co-workers,

supervisors, and the public . . . .       Plaintiff’s claim that the

Hearing Officer’s RFC determination failed to account for his

limited social contact therefore fails.”); Sweeney v. Colvin,

No. 3:13-cv-02233-GBC, 2014 WL 4294507, at *17 (M.D. Pa. Aug.

28, 2014) (collecting cases); Fredette, 2019 WL 121249, at *7.

     Any mistake the Hearing Officer may have made in failing to

mention Shiebler’s mild social interaction limitations in his

hypothetical questions to the VE was therefore harmless error.

       2. Shiebler’s Claim that The Hearing Officer Improperly
          Rejected PA-C Sullivan’s Report Is Unpersuasive.

     Shiebler also alleges that the Hearing Officer did not

properly account for the medical opinion evidence of Physician

Assistant John Sullivan (“Sullivan”).      Pl.’s Mem. 9, 13-18.

More specifically, Shiebler claims that (1) the Hearing Officer

did not provide appropriate citations to the evidence, (2) the

Hearing Officer did not explain how Shiebler’s testimony was

inconsistent with Sullivan’s report, and (3) the Hearing Officer

did not assess the “supportability” factor of Sullivan’s report.

Id. at 16-18.

     The mere existence of evidence contrary to the Hearing

Officer’s decision “does not extinguish the substantial evidence

supporting the [hearing officer’s] findings.”         Greene v. Astrue,




                                 [21]
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No. 11-30084-KPN, 2012 WL 1248977, at *3 (D. Mass. Apr. 12,

2012) (Neiman, M.J.) (quoting Fernung v. Astrue, No. 3:09CV00495,

2011 WL 1234784, at *10 (S.D. Ohio Jan. 26, 2011).             “Plaintiff

must show not only the existence of evidence in the record

supporting her position but must also demonstrate that the

evidence relied on by the ALJ is either insufficient, incorrect,

or both.”     Id.

       The Hearing Officer based his assessment of Shiebler’s RFC

on the medical record made by Dr. Zurawski, and other State

Agency medical consultants.       R. at 50-51.     Shiebler is not

challenging other evidence and has not demonstrated that other

medical records are either insufficient or incorrect.              Even if

Sullivan’s four-page report is significant medical evidence, the

Hearing Officer provided sufficient reason for its rejection.

Id.

              i. The Hearing Officer’s Rejection of Sullivan’s
                 Report Was Based on Substantial Evidence.

       Shiebler claims that the Hearing Officer did not provide an

adequate explanation for rejecting Sullivan’s assessment.               Pl.’s

Mem. 16-17.     On December 2, 2022, Sullivan examined Shiebler for

her functional capacity assessment.          R. at 46, 731.     Sullivan

assessed that Shiebler could walk for two to three blocks

without rest or severe pain, sit for thirty minutes at one time,

stand for fifteen minutes at one time, sit and stand/walk for




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two hours in an eight hour working day, needed a ten to fifteen

minute break for every thirty minutes of work, would need be

off-task for 25% or more of the time during a typical work day,

and needed to be absent from work more than four days per month.

Id. at 729-31.     Also, Sullivan assessed that Shiebler could (1)

occasionally lift ten pounds and twenty pounds, (2) occasionally

twist, stoop, and crouch, and (3) use her right upper extremity

for grasping, turning, and twisting objects, fine manipulation,

and reaching in front of her body or overhead 75% of the time.

Id. at 730.

       The Hearing Officer determined that Sullivan’s assessment

was not persuasive, noting that it “reports limitations that

were not consistent with his supervising physician [Dr.

Zurawski]’s exam findings as well as the claimant’s own

description of her activities.”        Id. at 51.     In the decision,

the Hearing Officer emphasizes that Sullivan was “working under

the supervision of Dr. Zurawski.”          Id. at 46.    The Hearing

Officer describes Dr. Zurawski’s exam findings in detail and

provides citations to the relevant evidence.            Id. at 44-46, 720-

27.    More specifically, the Hearing Officer summarizes Dr.

Zurawski’s findings as follows:

       [Shiebler’s] cranial nerves were intact. Motor exam
       showed no pronator drift with mildly increased tone in
       the bilateral lower extremities. Strength was normal
       (5/5) throughout. Sensation was intact to light
       touch, pinprick, temperature and vibration. Reflexes


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     were equal and symmetric (2+) throughout. There was
     mild bilateral dysmetria on heel to shin and finger-
     nose-finger movements. There was no truncal ataxia.
     Her gait was normal with respect to base and stride
     and performed without assistance. There was no ataxia
     or spasticity. She was able to stand unsupported.
     Romberg was positive and there was mild difficulty on
     tandem gait. Timed 25-foot walk was performed in 5.9
     seconds. The Neurologist continued the claimant on
     Ocrevus infusions every six months, gabapentin and
     Adderall as well as referring her for an MRI in six
     months.

Id. at 46.    The Hearing Officer’s summary of Dr. Zurawski’s

findings is consistent with the medical record.            See generally

id. at 547-705.

     Shiebler also alleges that the Hearing Officer did not

explain how Shiebler’s description of her activities was

inconsistent with Sullivan’s report.      Pl.’s Mem. 17.        On the

contrary, read as a whole, the Hearing Officer specified how

Shiebler’s activities were inconsistent with the limitations

reported in Sullivan’s report by pointing out each inconsistent

activity.    R. at 50; see Furey v. Saul, 501 F. Supp. 3d 29, 52

(D. Mass. 2020) (Burroughs, J.) (noting that it is proper for

the Court to read the ALJ’s decision as a whole, and that ALJs

are not required to needlessly repeat their analysis).

     The Hearing Officer summarized Sullivan’s findings in his

decision:

     The Physician’s Assistant stated that the claimant was
     able to walk 2-3 blocks at one time, to sit for thirty
     minutes at one time and to stand for fifteen minutes.
     The claimant would be able to perform two-hours total


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     of combined sitting, standing and walking in an eight-
     hour day. . . . The Physician’s Assistant stated that
     the claimant was incapable of even “low stress” work,
     that she would be off task for more than 25% of the
     workday and that she would be absent from work four or
     more days per month.

R. at 46.   The Hearing Officer describes Shiebler’s activities

in several paragraphs of his decision.       The Hearing Officer

mentions that “[i]n her function report dated May of 2022, the

claimant stated that she tries to attend her children’s sporting

events and will occasionally go out to dinner,” and that

“[Shiebler] also reported seeing her in-laws and her father on a

regular basis.”   Id. at 48.   Likewise, the Hearing Officer notes

that “[t]he claimant described being able to drive short

distances and to run short errands,” and that “she can prepare

simple meals, let the dog out and care for her children,” and

that she “testified that she recently went on a trip to Italy

where she visited Rome, Venice and Florence” and “indicated that

while in Italy, she was able to go on walking tours, go to

museums, see tourist attractions such as the Sistene [sic]

Chapel, and travel in water taxis.”       Id. at 50.       The Hearing

Officer added that he would take “administrative notice of the

fact that such travel would also require walking and standing in

lines for security and passport checks.”       Id.

     While it might have been preferable for the Hearing Officer

to explain exactly how such activities were inconsistent with



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Sullivan’s findings, such an omission does not amount to a legal

error or render the decision without substantial evidence.            It

was not unreasonable for the Hearing Officer to determine that a

person who can sit and stand/walk for only two hours in an

eight-hour workday would not be able to go on a week-long trip

abroad that requires a seven-hour flight and walking tours, or

to favor the opinion of Sullivan’s supervising physician over

Sullivan’s own.   The Hearing Officer also specifically

determined, with reference to Dr. Mary Connelly’s function

report, that it was “not persuasive” that Shiebler could only

stand and walk for a combined two hours per day, and gave

reasons.   Id. at 51.   Shiebler is not challenging the Hearing

Officer’s rejection of Dr. Connelly’s report, and the Hearing

Officer was not required to repeat this analysis.

     In sum, the Hearing Officer was within his discretion to

find the limitations described in Sullivan’s report

unpersuasive.   Considering the record as a whole, the Hearing

Officer’s decision to reject Sullivan’s report was based on

substantial evidence, and a reasonable mind could find the

evidence adequate to support his conclusion.        See Biestek, 587

U.S. at 102-03.




                                 [26]
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            ii. The Hearing Officer Considered the Supportability
                Factor in Examining Sullivan’s Report.

     Shiebler claims that the Hearing Officer failed to consider

the “supportability” factor in rejecting Sullivan’s function

report.    Pl.’s Mem. 18.

     In weighing medical evidence, a hearing officer must

consider supportability, consistency, specialization, and other

factors.    20 CFR § 404.1527(c).   “Supportability” requires the

officer to grant more weight to sources which provide better

explanations.    20 CFR § 404.1527(c)(3).     The hearing officer

need not use the specific word “supportability” or “consistency”

in his decision.    See, e.g., Angela H.-M. v. Commissioner of

Soc. Sec., 631 F. Supp. 3d 1, 10 (W.D.N.Y. 2022) (finding

hearing officer’s discussion sufficient even where the officer

“did not specifically use the words ‘supportability’ and

‘consistency’”).    “The more a medical source presents relevant

evidence to support a medical opinion, particularly medical

signs and laboratory findings, the more weight [the hearing

officer] will give that medical opinion.”       20 CFR §

404.1527(b)(3).

     The Hearing Officer did not make a legal error in omitting

to discuss the supportability factor explicitly when rejecting

Sullivan’s report.    As detailed above, the Hearing Officer’s

description of the relevant medical evidence is itself the




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Hearing Officer’s consideration of the supportability factor.

See supra section V.B.2.i.       The Hearing Officer’s summarization

of the medical opinions by Dr. Zurawski, Dr. Condie, and Dr.

Doraiswami shows how Sullivan’s assessment was inconsistent with

other medical records, and supports the Hearing Officer’s

implied finding that these opinions were more supported by

relevant evidence than the opinions he rejected.               R. at 44-46,

51.

          3. Shiebler’s Claim that the Hearing Officer Did Not
             Properly Evaluate Her Statements Is Unpersuasive.

       Shiebler claims that the Hearing Officer did not properly

evaluate Shiebler’s own statements about her symptoms.               Pl.’s

Mem. 18-19.

       The Hearing Officer examined Shiebler’s alleged symptoms

and statement of daily activities.           See R. at 49-51.      The

Hearing Officer first summarized Shiebler’s claimed symptoms in

this way: “Although her back pain has improved since her

surgery, she continues to have nerve pain as well as left-sided

numbness and spasms. . . . [S]he is often fatigued and must nap.

. . .    The claimant said that she has trouble sitting for long

periods.”     Id. at 49-50.    The Hearing Officer determined that,

although Shiebler does have some limitations due to her

impairments, Shiebler’s testimony was not sufficient to

establish “additional limitations” beyond those included in the




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RFC determination, “given the medical evidence, the prescribed

course of treatment, and her daily activities.”             Id. at 50.

     Based on Shiebler’s testimony and medical records, it was

not unreasonable for the Hearing Officer to find that Shiebler’s

self-reported symptoms did not establish additional limitations.

See id. at 295-302.    The Hearing Officer was not required to

take Shiebler’s statements about her own condition at “face

value.”   Bianchi v. Secretary of Health & Hum. Servs., 764 F.2d

44, 45 (1st Cir. 1985).     Rather, the Hearing Officer weighed

Shiebler’s statements against other evidence in the record,

including her treatment history, exam findings, and self-

reported activities.    R. at 50-51.      Therefore, the Hearing

Officer’s weighing of Shiebler’s own statements was based on

substantial evidence, and the existing administrative record

contains sufficient evidence to support the Hearing Officer’s

factual determinations.     See Biestek, 587 U.S. at 102.

     C. Summary of Discussion

     Any omissions the Hearing Officer may have made in his RFC

analysis constitute at most harmless error.         The Hearing Officer

based his opinion on medical records submitted by both the

Administration and Shiebler.     A “reasonable mind, reviewing the

evidence in the record as a whole, could accept [the Hearing

Officer’s decision] as adequate to support his conclusion.”

Ortiz, 955 F.2d at 769 (quoting Rodriguez v. Secretary of Health


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& Hum. Servs., 647 F.2d 218, 222 (1st Cir. 1981)).             The Hearing

Officer explained his findings from the medical records in

detail.    The mere existence of evidence to the contrary does not

render the whole decision as without substantial evidence.

Greene, 2012 WL 1248977, at *3.

VI.    CONCLUSION

       Shiebler’s motion to reverse, ECF No. 10, is DENIED, and

therefore the Commissioner’s motion to affirm, ECF No. 15, is

GRANTED.

SO ORDERED.

                                               _/s/ William G. Young_
                                                WILLIAM G. YOUNG
                                                     JUDGE
                                                     of the
                                                 UNITED STATES 1




       This is how my predecessor, Peleg Sprague (D. Mass. 1841-
       1

1865), would sign official documents. Now that I’m a Senior
District Judge I adopt this format in honor of all the judicial
colleagues, state and federal, with whom I have had the
privilege to serve over the past 46 years.


                                    [30]
